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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:03CR3034
                                         )
             v.                          )
                                         )
JASON CHARLES YAEGER,                    )             MEMORANDUM
                                         )              AND ORDER
                    Defendant.           )

      Given the emergency nature of the motion filed by Jason Charles Yaeger
yesterday afternoon, I conferred with the lawyers by telephone this morning and
heard their arguments. Mr. Yaeger originally sought to be released to be with his
dying child, but I am informed that the child passed away early this morning.
Counsel for Yaeger now wants me to order the warden to release the defendant to
attend the funeral.

       First, I compliment the warden for treating Mr. Yaeger and his family
humanely. The warden allowed Mr. Yaeger at least four escorted trips to visit with
his child since the fall of last year when it became apparent that the child would die.
The warden’s kindness began long before some in the electronic press turned this into
a depressing circus. I assume that same humanity will be displayed when the warden
decides whether to release Mr. Yaeger to attend the funeral.

      Second, I had the raw power to release Mr. Yaeger earlier and I have the raw
power to force the warden to release Mr. Yaeger today. I intentionally did not to do
so before and I will not presume to tell the warden what to do now. Mr. Yaeger’s
motion, predicated solely on 28 U.S.C. § 2255, lacks legal merit. No more words are
needed.
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      IT IS ORDERED the motion under 28 U.S.C. § 2255 (filing 100) is denied.
A separate judgment will be issued.

     March 28, 2008.                       BY THE COURT:

                                           s/Richard G. Kopf
                                           United States District Judge




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